                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                        NO. 5:09-CR-332-11FL

UNITED STATES OF AMERICA          :
                                  :
            v.                    :
                                  :
NICHOLAS OXENDINE                 :


                    PRELIMINARY ORDER OF FORFEITURE

     WHEREAS, pursuant to the entry of Memorandum of Plea

Agreement entered into by the defendant, Nicholas Oxendine, on

April 14, 2010, the following property is hereby forfeitable

pursuant to 18 U.S.C. § 981(a)(1)(C)(as made applicable by

28 U.S.C. § 2461(c), to wit:

     Real Property - All that lot or parcel of land, together

with its buildings, improvements, fixtures, attachments, and

easements, having the street address of 5708 Oakgrove Church

Road, Philadephus Township, North Carolina 28360, located in

Robeson County, and being more particularly described in a deed

recorded in Book 1539, Pages 334-335 of the Robeson County

Register of Deeds.    Being titled in the name of Nicholas Carl

Oxendine.

     Currency:

     $250,000.00 in U.S. currency, an amount not currently in

    the possession of or its whereabouts known to the

    Government; and




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     SUBSTITUTE PERSONAL PROPERTY:

     a) State Employee=s Credit Union Account XXXX1259 in the names
of Nicholas and Fannie Oxendine;
     b) State Employee’s Credit Union Account XXX4438 in the names
of Nicholas and Fannie Oxendine;
     c) 2005 Chevrolet Express Van, VIN: 1GCFG15X651174531,
registered to Nicholas Oxendine;
     d) 2005 Hummer, VIN: 5GRGN23U25H114826, registered to Nicholas
Oxendine;
     e) 2005 Chevrolet Express Van, VIN: 1GCFG15X451240736,
registered to Nicholas Oxendine;
     f) 2004 Chrysler Crossfire, VIN: 1C3AN69L94X011439, registered
to Nicholas Oxendine;
     g) 2006 Chevrolet Uplander, VIN: 1GBDV13L56D204779, registered
to Nicholas Oxendine;
     h) 2005 Chevrolet Express Van, VIN: 1GCFG15X751189443,
registered to Nicholas Oxendine.

     WHEREAS, by virtue of said Memorandum of Plea Agreement, the

United States is now entitled to possession of said property,

pursuant to Fed. R. Crim. P. 32.2(b)(3);

     It is hereby ORDERED, ADJUDGED and DECREED:

     1.   That based upon the Memorandum of Plea Agreement as to

the defendant, Nicholas Oxendine, the United States is hereby

authorized to seize the above-stated property, and it is hereby

forfeited to the United States for disposition in accordance with

the law, subject to the provisions of 21 U.S.C. § 853(n), as

allowed by Fed. R. Crim. P. 32.2(b)(3).        In accordance

with Fed. R. Crim. P. 32.2(b)(3), this Order is now final as to

the defendant, provided that the proceeds from the sale of the

real property (which amount will not be deemed less than

$100,000) will be credited toward the $250,000 forfeiture, as

well as the proceeds of the sale of any of the substitute assets,

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and an appropriate full or partial satisfaction of judgment

filed.    Further, should there be any surplus over and above the

amount of $250,000, such shall be returned to the defendant.

     2.     That upon sentencing and issuance of the Judgment and

Commitment Order, the Clerk of Court is directed to incorporate a

reference to this Preliminary Order of Forfeiture in the

applicable section of the Judgment, as required by Fed. R. Crim.

P. 32.2(b)(3).

     3.     With regard to the personal property only, pursuant to

21 U.S.C. § 853(n), the United States shall publish notice of

this Order and of its intent to dispose of the property in such

manner as the Attorney General or the Secretary of Treasury

directs, by publishing and sending notice in the same manner as

in civil forfeiture cases, as provided in Supplemental Rule G(4).

Any person other than the defendant, having or claiming any legal

interest in the subject property must file a petition with the

Court within 30 days of the publication of notice or of receipt

of actual notice, whichever is earlier.

     The petition must be signed by the petitioner under penalty

of perjury and shall set forth the nature and extent of the

petitioner’s right, title, or interest in the subject property,

and must include any additional facts supporting the petitioner’s

claim and the relief sought.




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      4.    That upon adjudication of all third party interests

this Court will enter a Final Order of Forfeiture as required by

Fed. R. Crim. P. 32.2(c).

      5.    That upon entry of this Preliminary Order of

Forfeiture, the Clerk of Court is directed to enter judgment

against that amount of currency forfeited, not in the possession

of the Government or its whereabouts known, that is, $250,000.00,

subject to the provisions of this Order.

      SO ORDERED.    This 19th
                          ___ day of________________,
                                        July          2010.


                                    __________________________________
                                    LOUISE W. FLANAGAN
                                    Chief United States District Judge




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